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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW JOHNSON                            :
                                          :      CIVIL ACTION
                     Plaintiff            :
                                          :
              v.                          :      NO. 22-0170
                                          :
MONTGOMERY COUNTY                         :
COURT OF COMMON PLEAS                     :
                                          :
                     Defendant            :
                                          :

                                          ORDER

       AND NOW, this _________ day of _____________________, 2022, upon consideration

of the Motion to Dismiss filed on behalf of Defendant the Montgomery County Court of

Common Pleas, and any response thereto, it is hereby ORDERED that the Motion to Dismiss is

GRANTED, and Plaintiff’s Complaint is hereby DISMISSED, with prejudice.




                                                         ______________________________
                                                                                      J.
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                       IN THE UNITED STATES DISTRICT COURT
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ANDREW JOHNSON                                :
                                              :       CIVIL ACTION
                       Plaintiff              :
                                              :
               v.                             :       NO. 22-0170
                                              :
MONTGOMERY COUNTY                             :
COURT OF COMMON PLEAS                         :
                                              :
                       Defendant              :
                                              :

                           DEFENDANT’S MOTION TO DISMISS

       NOW COMES DEFENDANT, the Montgomery County Court of Common Pleas, by and

through its undersigned counsel, and files this Motion to Dismiss, averring in support thereof as

follows:

       1.      Plaintiff was hired in 2010 to act as a Court Crier for the Honorable Garrett D.

Page, a judge of the Montgomery County Court of Common Pleas. In 2018, he claims that he

broke off a romantic relationship with a Court Reporter, Dianne DeSanto, who also worked in

Judge Page’s courtroom. Shortly thereafter Ms. DeSanto informed Judge Page and other

members of his staff that Plaintiff had physically assaulted her.

       2.      Following Ms. DeSanto’s complaint, Plaintiff alleges that Judge Page terminated

Plaintiff’s employment “[w]ithout conducting any investigation whatsoever and without giving

Johnson any opportunity to refute Ms. DeSanto’s false accusations.” (Complaint, ¶ 13). As

justification for his termination, Judge Page informed Plaintiff that he had failed to meet

performance standards and had violated the Code of Conduct for Employees of the Unified

Judicial System.
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       3.      Plaintiff alleges that these issues were merely pretext for his firing, and that “[i]f

Johnson had been a woman, his employer would have conducted an investigation into the false

allegations made by Ms. DeSanto and Johnson would not have been fired.” (Complaint, ¶¶ 15-

16). He cites no facts in support of this assertion.

       4.      Based on the aforementioned, Plaintiff brings one claim against Defendant for

violation of Title VII of the Civil Rights Act of 1964 for purported gender discrimination.

       5.      As set forth more fully in the accompanying Brief, Plaintiff, as a member of Judge

Page’s personal staff, is not a covered employee under Title VII.

       6.      Further, Plaintiff has failed to state a claim under Title VII.

       7.      Given the nature of the aforementioned defenses, leave to amend would be futile.

       WHEREFORE, Defendant, the Montgomery County Court of Common Pleas,

respectfully requests that this Court enter an Order in the form attached hereto, dismissing

Plaintiff’s Complaint, with prejudice.

                                               Respectfully submitted,

                                               /s/ Megan L. Davis
                                               MEGAN L. DAVIS
                                               Attorney I.D. No. PA 321341
                                               ROBERT J. KRANDEL
                                               Attorney I.D. No. PA 89485
                                               Administrative Office of PA Courts
                                               1515 Market Street, Suite 1414
                                               Philadelphia, PA 19102
                                               (215) 560-6326, Fax: (215) 560-5486
                                               E-mail: legaldepartment@pacourts.us
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ANDREW JOHNSON                                :
                                              :       CIVIL ACTION
                       Plaintiff              :
                                              :
               v.                             :       NO. 22-0170
                                              :
MONTGOMERY COUNTY                             :
COURT OF COMMON PLEAS                         :
                                              :
                       Defendant              :
                                              :

            BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

       NOW COMES DEFENDANT, the Montgomery County Court of Common Pleas, by and

through its undersigned counsel, and files this Brief in Support of its Motion to Dismiss, averring

in support thereof as follows:

I.     FACTUAL BACKGROUND

       Plaintiff was hired in 2010 to act as a Court Crier for the Honorable Garrett D. Page, a

judge of the Montgomery County Court of Common Pleas. (Complaint, ¶¶ 7, 9). In 2018, he

claims that he broke off a romantic relationship with a Court Reporter, Dianne DeSanto, who

also worked in Judge Page’s courtroom. (Complaint, ¶ 11). Shortly thereafter Ms. DeSanto

informed Judge Page and other members of his staff that Plaintiff had physically assaulted her.

(Complaint, ¶ 12).

       Following Ms. DeSanto’s complaint, Plaintiff alleges that Judge Page terminated

Plaintiff’s employment “[w]ithout conducting any investigation whatsoever and without giving

Johnson any opportunity to refute Ms. DeSanto’s false accusations.” (Complaint, ¶ 13). As

justification for his termination, Judge Page informed Plaintiff that he had failed to meet
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performance standards and had violated the Code of Conduct for Employees of the Unified

Judicial System. (Complaint, ¶ 14). Plaintiff alleges that these issues were merely pretext for his

firing, and that “[i]f Johnson had been a woman, his employer would have conducted an

investigation into the false allegations made by Ms. DeSanto and Johnson would not have been

fired.” (Complaint, ¶¶ 15-16). He cites no facts in support of this assertion.

       Based on the aforementioned, Plaintiff brings one claim against Defendant for violation

of Title VII of the Civil Rights Act of 1964 for purported gender discrimination. For the reasons

set forth below, Plaintiff’s Complaint must be dismissed.

II.    QUESTIONS PRESENTED

       1.      Should Plaintiff’s Complaint be dismissed because he was a member of Judge

Page’s personal staff and is not an “employee” under Title VII?

       Suggested Answer: Yes.

       2.      Should Plaintiff’s Complaint be dismissed because he has failed to state a claim

upon which relief could be granted?

       Suggested Answer: Yes.

III.   ARGUMENT

       A.      AS JUDGE PAGE’S PERSONAL STAFF, PLAINTIFF IS NOT A
               COVERED EMPLOYEE UNDER TITLE VII
       Title VII protects employees against discrimination in the workplace on the basis of

protected characteristics, including gender. 42 U.S.C.A. § 2000e-2(a)(1). To be entitled to the

protections of Title VII, a plaintiff must show that he is a covered “employee,” which is defined

as follows:

       The term “employee” means an individual employed by an employer, except that
       the term “employee” shall not include any person elected to public office in any
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       State or political subdivision of any State by the qualified voters thereof, or any
       person chosen by such officer to be on such officer’s personal staff, or an
       appointee on the policy making level or an immediate adviser with respect to the
       exercise of the constitutional or legal powers of the office. The exemption set
       forth in the preceding sentence shall not include employees subject to the civil
       service laws of a State government, governmental agency or political
       subdivision…
42 U.S.C.A. § 2000e(f) (emphasis added).

       Courts look to the nature of the plaintiff’s job duties and the relationship to his employer

to determine whether the plaintiff is part of an elected official’s personal staff. Gupta v. First

Judicial Dist., 759 F. Supp. 2d 564 (E.D. Pa. 2010). The leading test utilized in the Third Circuit

stems from Teneyuca v. Bexar County, 767 F.2d 148 (5th Cir. 1985), which requires analysis of

the following factors:

       1.      Whether the elected official has plenary powers of appointment and
               removal;

       2.      Whether the person in the position at issue is personally accountable to
               only that elected official;


       3.      Whether the person in the position at issue represents the elected official
               in the eyes of the public;


       4.      Whether the elected official exercises a considerable amount of control
               over the position;


       5.      The level of the position within the organization’s chain of command; and


       6.      The actual intimacy of the working relationship between the elected
               official and the person filling the position.


Teneyuca, 767 F.2d at 151.
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       Here, Judge Page is an elected officer. See Pa. Const. Art. 5 § 13(a). Pennsylvania law

provides that judges “may appoint and fix the duties of necessary personal staff,” who include

“[p]rivate secretaries, law clerks and such other personnel as an individual may be authorized by

law to select and remove…” Pa. Cons. Stat. Ann. §§ 102, 2301(a)(1). Court criers like Plaintiff

are considered part of a judge’s personal staff. See, e.g., Gardner v. Peoples, 506 A.2d 479 (Pa.

Commw. 1986). In this regard, as a court crier, Plaintiff was hired by and reported directly to

Judge Page and worked exclusively for Judge Page from his hire until the date of his termination.

As a court crier, he was responsible for interfacing with the public on Judge Page’s behalf, and

represented Judge Page before the parties that appeared in Judge Page’s courtroom. Because

Plaintiff was an exclusive confidential employee of Judge Page, he is expressly excluded from

the definition of a covered employee under Title VII. His Title VII claim must therefore be

dismissed.1

       B.      PLAINTIFF HAS FAILED TO STATE A CLAIM UNDER TITLE VII

       Plaintiff’s status as personal staff notwithstanding, the fact remains that he has failed to

state a claim under Title VII. In the absence of direct evidence of discrimination, a plaintiff may

prove gender discrimination according to the burden-shifting framework set forth in McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802 (1973). Under this framework, the plaintiff bears the

initial burden of establishing a prima face case of unlawful discrimination. Kahan v. Slippery

Rock Univ. of Pa., 664 Fed. Appx. 170, 173-74 (3d Cir. 2016). To establish a prima facie case of




1
  Defendant believes that the nature of the court crier position is sufficiently well-established to
allow the Court to rule on this issue at the Motion to Dismiss stage. However, if the Court
believes that further factual development would be beneficial, Defendant is amenable to
converting its Motion to one for Summary Judgment after limited factual discovery on the nature
of Plaintiff’s work for Judge Page.
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“reverse discrimination,” a plaintiff must “present sufficient evidence to allow a fact finder to

conclude that the employer is treating some people less favorably than others based upon a trait

that is protected under Title VII.” Id. (citing Iadimarco v. Runyon, 190 F.3d 151, 161 (3d Cir.

1999)). If a plaintiff succeeds in establishing his prima facie case, the burden shifts to the

employer to articulate some legitimate, non-discriminatory reason for the employee’s rejection.

Thompson v. Bridgeton Bd. of Educ., 613 Fed. Appx. 105, 107 (3d Cir. 2015). The plaintiff must

then be given the opportunity to introduce evidence that the proffered justification is merely a

pretext for discrimination. Id. (citing Iadimarco, 190 F.3d at 157, 161).

        Here, Plaintiff has failed at the first step, as he has not successfully set forth a prima facie

case of discrimination. His entire complaint is premised on the allegation that Judge Page

immediately fired him after Ms. DeSanto accused him of assaulting her, and that if he had been a

woman, his employer would have performed a more thorough investigation into these

allegations. (Complaint, ¶¶ 13, 15-16). He cites to no evidence that would support this

unfounded conclusion; he does not identify any women who were treated more favorably than he

was after being accused of assaulting a coworker, nor does he cite to any examples of

discriminatory treatment he witnessed or was subjected to during his employment. His

speculative statement that a woman accused of assaulting her partner would have been given the

benefit of the doubt is just that – speculation. It is well-settled that even at this early stage, this

Court is not required to accept these sorts of conclusions of law as truth. See Papasan v. Allain,

478 U.S. 265, 286 (1986) (a court need not accept conclusions of law couched as factual

allegations). In sum, he has failed to plead any facts that would allow a fact finder to conclude

that Defendant is treating some people less favorably than others on the basis of gender. See
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Kahan, supra. Accordingly, Plaintiff has failed to meet even his minimal burden of pleading a

prima facie case.

       Even if Plaintiff had pled a prima facie case of discrimination, which he clearly has not,

he would still fail on the third prong of the McDonnell Douglas framework. As set forth above,

once Defendant has proffered its legitimate, non-discriminatory reason for a plaintiff’s

termination, the burden shifts back to the plaintiff to establish that the Defendant’s proffered

reason for his termination is merely pretext for unlawful discrimination. Here, Plaintiff’s entire

case is premised upon a bare-bones accusation that Defendant made an incorrect employment

decision when it gave credence to Ms. DeSanto’s allegations. This alone is insufficient to

establish pretext under Title VII. See DeCarolis v. Presbyterian Med. Ctr. of the Univ. of Pa.

Health Sys. 554 Fed. Appx. 100, 105 (3d Cir. 2014) (citing Fuentes v. Perskie, 32 F.3d 759, 763

(3d Cir. 1994)) (“Because the ultimate issue is whether ‘discriminatory animus’ motivated the

employer, it is not enough to show that the employer made a ‘wrong or mistaken’ decision.”);

see also Ryan v. CBS Corp., 2007 U.S. Dist. LEXIS 57628 (E.D. Pa. 2007) (“Ryan’s argument is

essentially based on his belief that Defendants’ investigation [into his alleged assault of a

coworker] was conducted poorly on purpose and its outcome was factually incorrect. Ryan,

however, cannot simply show that the employer’s decision was wrong or mistaken, since the

factual dispute at issue is whether discriminatory animus motivated the employer, not whether

the employer is wise, prudent, or competent.”) (internal quotations omitted). As the Third Circuit

has noted, the Court does not sit “as a super-personnel department that reexamines an entity’s

business decisions.” Brewer v. Quaker State Oil Refining Corp., 72 F.3d 326, 332 (3d Cir. 1995)

(quoting McCoy v. WGN Continental Broadcasting Co., 957 F.2d 368, 373 (7th Cir. 1992)).
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       Rather, the question for the Court is whether Plaintiff has pled facts that, if true, could

show “such weaknesses, implausibilities, inconsistencies, incoherencies, or contradictions in the

employer’s proffered legitimate reasons for its action that a reasonable factfinder could rationally

find them unworthy of credence, and hence infer that the employer did not act for the asserted

non-discriminatory reasons.” Fuentes, 32 F.3d at 765 (internal quotations and citations omitted).

This he has not done, nor even attempted to do. Taking the facts alleged in the Complaint as true,

Defendant received a serious complaint that Plaintiff had physically assaulted his coworker, and

he was terminated as a result. Even if Plaintiff believes the Court acted too quickly, he has not

explained how the decision to terminate him was so unreasonable under the circumstances as to

indicate a discriminatory animus. Accordingly, his claim under Title VII fails.

IV.    CONCLUSION

       Based on the foregoing arguments and authorities, Defendant, the Montgomery County

Court of Common Pleas, respectfully requests that this Court enter an Order in the form attached

hereto, dismissing Plaintiff’s claims against it, with prejudice.




                                               Respectfully submitted,

                                               /s/ Megan L. Davis
                                               MEGAN L. DAVIS
                                               Attorney I.D. No. PA 321341
                                               ROBERT J. KRANDEL
                                               Attorney I.D. No. PA 89485
                                               Administrative Office of PA Courts
                                               1515 Market Street, Suite 1414
                                               Philadelphia, PA 19102
                                               (215) 560-6326, Fax: (215) 560-5486
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                      Plaintiff             :
                                            :
              v.                            :      NO. 22-0170
                                            :
MONTGOMERY COUNTY                           :
COURT OF COMMON PLEAS                       :
                                            :
                      Defendant             :
                                            :


                                  CERTIFICATE OF SERVICE
       The undersigned certifies that on March 17, 2022, they caused to be served upon the

following a copy of the foregoing Motion to Dismiss and Brief in Support of the Motion via

CM/ECF to all counsel of record.

                                            Respectfully submitted,

                                            /s/ Megan L. Davis
                                            MEGAN L. DAVIS
                                            Attorney I.D. No. PA 321341
                                            ROBERT J. KRANDEL
                                            Attorney I.D. No. PA 89485
                                            Administrative Office of PA Courts
                                            1515 Market Street, Suite 1414
                                            Philadelphia, PA 19102
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